Case 2:17-cv-00509-JRG-RSP Document 15 Filed 09/26/17 Page 1 of 1 PageID #: 115



                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

 MIRROR IMAGING LLC                              §
                                                 §
                                                            Case No. 2:17-cv-0507-JRG
 v.                                              §
                                                                 LEAD CASE
                                                 §
 BOKF NA                                         §
 FIRST NATIONAL BANK OF OMAHA                    §          Case No. 2:17-cv-0508-JRG
 FIRST NATIONAL BANK TEXAS                       §          Case No. 2:17-cv-0509-JRG

                              ORDER APPOINTING MEDIATOR

        IT IS ORDERED that William Cornelius, One American Center, 909 ESE Loop 323, Suite

 400, Tyler, Texas 75701, telephone number 903-509-5004 and fax number 903-509-5091, is

 hereby appointed as mediator in the above referenced lead and member cases. The Court

 designates plaintiff=s counsel to be responsible for timely contacting the mediator and defendant=s

 counsel to coordinate a date for the mediation. Mediation shall be completed by the date set forth

 in the Docket Control Order.

        Mediation shall be governed by the Court-Annexed Mediation Plan, found at:

 http://www.txed.uscourts.gov/page1.shtml?location=mediation.         In particular and without

 limitation, the Mediation Plan requires the presence at the mediation conference of all parties,

 corporate representatives, and any other required claims professionals (e.g., insurance adjusters,

 etc.) with full authority to negotiate a settlement. Exceptions to this requirement may be made

 only by the presiding judge in writing.

         So Ordered this
         Sep 26, 2017
